      Case: 1:25-cv-05846 Document #: 18 Filed: 06/20/25 Page 1 of 2 PageID #:320




                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


KAIHER TECHNOLOGY CO., LIMITED d/b/a                  )
Kaiher-US,                                            )
                                                      )
                       Plaintiff,                     ) Civil Action No. 1:25-cv-05846
                                                      )
v.                                                    ) Judge: Hon. Mary M. Rowland
                                                      )
SCAN2CAD INC,                                         ) Magistrate: Hon. Heather K. McShain
                                                      )
                       Defendant.                     )


     DEFENDANT’S MOTION TO STAY THE TEMPORARY RESTRAINING ORDER

        Defendant SCAN2CAD INC (“Defendant”), hereby moves this Court to stay the

execution of the Temporary Restraining Order (“TRO” Dkt. #16) until Defendant’s concurrently

filed Motion to Dismiss the Complaint (Dkt. #17) for lack of personal jurisdiction under Rule

12(b)(2) and for improper venue under Rule 12(b)(3) is considered.

        Defendant presented strong evidence to show that it has no minimum contact with the

State of Illinois for personal jurisdiction and also does not satisfy the requirements of 28

U.S.C. § 1400(b) for a "regular and established place of business" in the State of Illinois.

Therefore, the TRO should be stayed pending a decision of Defendant’s Motion to Dismiss.



                                                      Respectfully submitted,

Dated: June 20, 2025                                  /s/ Lance Liu
                                                      Lance Liu, Esq.
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                                                      ATTORNEY FOR DEFENDANT


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    Case: 1:25-cv-05846 Document #: 18 Filed: 06/20/25 Page 2 of 2 PageID #:321




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2025, a copy of the foregoing document was filed

electronically through the Court’s CM/ECF NextGen system with notice of filing automatically

sent electronically to counsel of record.




                                                   Respectfully submitted,

Dated: June 20, 2025                               /s/ Lance Liu
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                                                   SCAN2CAD INC.




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